                        Case 4:16-cr-00021-DPM                   Document 141              Filed 06/29/17        Page 1 of 7
 AO 245B (Rev. 11116)    Judgment in a Criminal Case                                                                          FILED
                         Sheet I                                                                                      EAs&°QNf?{~J§lcr co~NSAS
                                                                                                                                  MISI AR

                                           UNITED STATES DISTRICT COURT                                                . J~UN
                                                                                                                          ..29 2017
                                                                        . .                                     JAMESW
                                                               Eastern District of Arkansas                     By:_  ·        cc         CK, CLERK

                 UNITED STATES OF AMERICA                                   ~         JUDGMENT IN A CRIMINAL CASE                            DEPCLERJ<-

                                    v.                                      )
                                                                            )
                  ANTHONY WILLIAM TOPPS                                               Case Number: 4:16CR00021-004 SWW
                                                                            )
                                                                            )         USM Number: 51253-424
                                                                            )
                                                                            )          Patrick J. Benca (retained)
                                                                            )         Defendant's Attorney
 THE DEFENDANT:
 liZI pleaded guilty to count(s)         7 of the indictment

 D pleaded nolo contendere to count(s)
    which was accepted by the court.
 D was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                   Nature of Offense                                                          Offense Ended
18 U.S.C. § 924(c)(1)(A)(ii)         Possessing and brandishing a firearm in furtherance of                    8/14/2015                 7
                                      drug-trafficking crime, a Class A Felony



        The defendant is sentenced as provided in pages 2 through                 7          of this judgment The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 liZI Count(s)    1, 6                                    D is       liZI are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 cJays of any: change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments ~osed by this judgment are fully paid If ordered to pay restitution,
 the defen<lant must notify the court and United States attorney of material clianges in econonnc circumstances.

                                                                            6/22/2017




                                                                            Susan Webber Wright, U. S. District Judge
                                                                           Name and Title of Judge



                                                                           Date
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  AO 2458 (Rev. 11/16) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                                       2_ of
                                                                                                       Judgment-Page _ _       7
   DEFENDANT: ANTHONY WILLIAM TOPPS
   CASE NUMBER: 4:16CR00021-004 SWW

                                                              IMPRISONMENT
              The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
   term of:
    SEVENTY-ONE (71) MONTHS on Count 7.




       liZI The court makes the following recommendations to the Bureau of Prisons:
IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be incarcerated in
FCI Pekin, Illinois to be close to family in Illinois; and that defendant participate in residential substance abuse treatment and
educational/vocational programs during incarceration.


       liZI' The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
              D at
                       - - - - - - - - - D a.m.                  D p.m.      on
              D as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              D before 2 p.m. on
              D as notified by the United States Marshal.
              D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
   I have executed this judgment as follows:




              Defendant delivered on                                                     to

   a - - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL



                                                                            By -----------------~
                                                                                   DEPU1Y UNITED STATES MARSHAL
                     Case 4:16-cr-00021-DPM               Document 141            Filed 06/29/17         Page 3 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     3    of         1
DEFENDANT: ANTHONY WILLIAM TOPPS
CASE NUMBER: 4:16CR00021-004 SWW
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:       THREE (3) YEARS



                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                                                                                                             ------------------




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AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A- Supervised Release
                                                                                                Judgment-Page _ _ _ _ of _ _ _ _ __
DEFENDANT: ANTHONY WILLIAM TOPPS
CASE NUMBER: 4:16CR00021-004 SWW

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ----------~
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AO 2458 (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 3B - Supervised Release
                                                                                            Judgment-Page    5    of       7
DEFENDANT: ANTHONY WILLIAM TOPPS
CASE NUMBER: 4:16CR00021-004 SWW

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 1. Defendant must contact the U. S. Probation Office in the district to which the defendant is released within 72 hours of
 release from the custody of the Bureau of Prisons and comply with all mandatory and standard conditions that apply.

 2. Defendant is not a legal resident of this district. Therefore, the period of supervised release is to be administered by
 the district where defendant is a legal resident and/or the district where a suitable release plan has been developed.

 3. Defendant must participate, under the guidance and supervision of the U. S. Probation Officer, in a substance abuse
 treatment program which may include testing, out-patient counseling, and/or residential treatment. Further, defendant shall
 abstain from the use of alcohol throughout the course of any treatment. The defendant will pay for the cost of treatment at
 the rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
 probation office. In the event the defendant is financially unable to pay for the cost of the treatment, the co-pay
 requirement will be waived.

 4. You must provide the probation officer with access to any requested financial information (including unexpected
 financial gains) and authorize the release of any financial information. The probation office may share financial information
 with the U.S. Attorney's Office. You must not incur new credit charges or open additional lines of credit without the
 approval of the probation officer unless all criminal penalties have been satisfied.
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AO 2458 (Rev. 11116)    Judgment in a Criminal Case
                        Sheet S - Criminal Monetary Penalties
                                                                                                            Judgment-Page -=6- of           7
 DEFENDANT: ANTHONY WILLIAM TOPPS
 CASE NUMBER: 4:16CR00021-004 SWW
                                                CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                    JVTA Assessment*                                             Restitution
 TOTALS              $ 100.00                    $                                  $                           $ 9,959.39


 D The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 145C) will be entered
         after such determination.

 ti The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned _Ea~ent, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

  Name of Payee                                                                 Total Loss**         Restitution Ordered Priority or Percentage
       Pharmacists Mutual Insurance Co.

       P. 0. Box 370, 808Highway18 W.,

       Algona, loway 50511                                                                                     $8,459.39



       J&B kelly, inc. d/b/a Prescription Shop,

       P. 0. Box 507, Hazen, Arkansas 72064                                                                    $1,500.00




TOTALS                                                                    $                   0.00 $_ _ _~9~,9~5=9=.3c..=..9


D        Restitution amount ordered pursuant to plea agreement $

D        The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l!tj     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          ti the interest requirement is waived for the          D fine       l!ti restitution.
          D the interest requirement for the         D    fine    0   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 1 IOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                       Case 4:16-cr-00021-DPM                  Document 141               Filed 06/29/17            Page 7 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6- Scbcdulc of Payments
                                                                                                               Judgment-Page         7      of           7
 DEFENDANT: ANTHONY WILLIAM TOPPS
 CASE NUMBER: 4:16CR00021-004 SWW

                                                       SCHEDULE OF PAYMENTS
 Having assessed the defendant•s ability to pay, payment of the total criminal monetary penalties is due as follows:
      2] Lump sum payment of$
 A
                                          - - - - - due immediately, balance due
                                        -100.00
            D      not later than _ _ _ _ _ _ _ _ _ , or
            liZI   in accordance with D C, D D,   D E,or                        liZI F below; or

 B     D    Payment to begin immediately (may be combined with               DC,          D D, or       D F below); or

 C     D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
           -----
D     D     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                          over a period of
           _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     2]    Special instructions regarding the payment of criminal monetary penalties:
             The restitution is due immediately, and any unpaid balance imposed is payable during incarceration and
             supervised release. During incarceration, defendant will pay 50% per month of all funds that are available to him.
             During residential re-entry placement, payments will be reduced to 10% of defendant's gross monthly income.
             Beginning the first month of supervised release, payments will be 10% per month of defendant's monthly gross
             income.
Unless the court bas expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mon~penalties is due during
the period of imprisonment. All criminal mon~ ¢nalties, except those payments made through the Federal Bureau of Prisons• Inmate
Financial Responsibility Program. are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 l!'.I Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       4:16CR00021-004 Anthony William Topps. Restitution shall be joint and several with any other person who has been
       or will be convicted on an offense for which restitution to the same victim on the same loss is ordered.



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal! (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) JVTA assessment, (8) peiia'lties, and (9) costs, me tiding cost of prosecution and court costs.
